Because I am of the opinion that the evidence before the trial court did not raise a genuine issue of material fact regarding Davis-Blunt's negligence claim, I conclude that the trial court was correct in granting summary judgment to the Myatts.  Therefore, I must respectfully dissent.
Davis-Blunt rented the premises on September 19, 1996. One week before, Ms. Myatt had pointed out the defect in the carpet and had thereafter repaired it.  Once the repair was made, and Davis-Blunt took exclusive possession of the premises, any liability of the Myatts for Davis-Blunt's injury was dependent on their knowledge or notice that the carpet had again come loose. It is undisputed, however, that the Myatts had no knowledge or notice of the alleged defect from the time Davis-Blunt took possession of the premises until she fell on November 4, 1996. The mere fact that the repair was made prior to Davis-Blunt's occupancy did not constitute continuing notice to the Myatts for all time.  Notice was required and there is no dispute that none was given.
Please Note:
The court has placed of record its own entry in this case on the date of the release of this Opinion.